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In the United States Bankmptcy Court
Eastern District of New York


In the Matter of:                     )
Michael Krichevsky                    )
               Debtor In Possession )           CHAPTER 11 CASE No. 19-43516-ess
                                      )

     NOTICE OF CROSS-MOTION AND CROSS-MOTION TO STRIKE AND DISMISS
        WITH PREJUDICE CHAPTER 11 PROOF OF CLAIM BY US BANK. NA

COUNSELORS:


        PLEASE TAKE NOTICE,that upon my annexed supporting affidavit, I, Michael

Krichevsky, will cross-move at the United States Bankruptcy Court, located at 271-C Cadman

Plaza East, Brooklyn, NY 11201-1800 on May 22, 2020 at 10:30AM, or as soon thereafter as

Counsel may be heard, for an Order to Strike alleged creditor's US Bank, NA proof of claim on

the following ground:

a)      Violation of Bankruptcy Rule 9011. Signing ofPapers; Representations to the Court;

Sanctions; Verification and Copies of Papers;

b)      Fraud upon the court by officers of the court

c)      Rule 12 ofFEDERAL RULES OF CIVIL PROCEDURE:(1)lack of subject-matter

jurisdiction;(4)insufficient process;(6)failure to state a claim upon which relief can be granted;

and (7)failure to join a party under Rule 19;

d)      Lack of standing to file claim.

Dated: Brooklyn, New York
       May 14, 2019
                                 /s/ Michael Krichevsky
                                Michael Krichevsky, DIP
                               4221 Atlantic Ave
                               Brooklyn, New York 11224
                               (718)687-2300
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United States Bankruptcy Court                                           >
Eastern District of New York


In the Matter of:                    )
Michael Krichevsky                   )             ^
                      Debtor.        )       CHAPTER 11 CASE No. I9-43516-ess
             ^                       )

REPLY AFFIDAVIT TO MOTION FOR RELIEF FROM STAY AND SAME AFFIDAVIT IN
  SUPPORT OF CROSS-MOTION TO STRIKE AND DISMISS WITH PREJUDICE PROOF
                                 OF CLAIM BY US BANK. NA


I, Michael Krichevsky, DIP, under penalty of perjury respectfully aver as follows:

1.     I am the Debtor in Possession in the within action.

2.     I make this reply affidavit in opposition to proof of claim and to motion for relieffrom

automatic stay.

3.     I make this affidavit in support of my cross-motion to strike and dismiss with prejudice

proof of claim by US Bank, NA and Wells Fargo Bank, NA in my Chapter 11 petition.

4.     I have a God given rights to Liberty, Property and Pursuit of Happiness. To defend these

rights from violation, I have been litigating and investigating public corruption as whistleblower

and victim since 2008 and obtained a lot of experience.

5.     The averments in this affidavit based upon my firsthand knowledge, research, personal

experience in foreclosure litigation from 2009; upon information, documentary evidence

provided to me by others in my capacity as investigator and whistleblower; and upon inferences

and conclusions reached from said information and belief.

6.     In fact, I am the only one amongst people involved in this action W\\\\ first-hatid

hiowledge to lawfully sign non-hearsay, admissible affidavit without intention to mislead the

court or judge, harass opponent and without creating perjury and/or fraud upon the court.
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                                    INTRODUCTORY STATEMENT


       Sidney Powell, Esq. criminal defense attorney of General Michael Flynn who was framed

by FBI and DOJ, wrote a book "Licensed To Lie"(available on Amazon) where she exposed

how attorneys use their license to practice law as a tool to commit their perjury. In this book, she

presents several examples of these crimes. This case is another evidence to support her book. On

April 28, 2020 in interview on Fox Business she called prosecuting attorneys from DOJ "hit

squad." In this case, I am against the "hit squad" too.

       A party seeking relief in any Federal Court — bears the burden of demonstrating standing

and must plead its components with specificity. The minimum constitutional requirements for

standing are: proof of injury in fact, causation, and redressability. Furthermore, in order to satisfy

the requirements of Article III of the United States Constitution, any claimant asserting rights in

a Federal Court must show he has personally suffered some actualinjury as a result of the

conduct of the adverse party. In this case, US Bank, NA did not even attempt to do that, and

therefore does not have standing to bring this claim and motion.

Silence is an act of complicity

       This case is about paid off debt, contract, documents, duty, honor, trust, law and

corruption - and about premise or proposition that future proves past, which in my case supports

affirmative defense of legal doctrines of Estoppels and Res Judicata to name a few. In regard to

Res Judicata, I will show the court that my procedural and substantive due process rights were

constantly violated by attorneys, while opposition had full and fair opportunity to litigate, but

declined. Since 2009,1 was not given a chance to depose alleged creditor because opposing

attorneys knew that they have nobody from creditor to produce for deposition.

       From PRACTICAL TREATISE ON THE LAW OF TRUSTS AND TRUSTEES BY
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THOMAS LEWIN,ESQ.,(1837)(downloaded in PDF from Google Books)- an all times

classic on these subjects, 1 learned the following and I quote;

       "Thus, in the words of an old counsellor, the parents ofthe trust were Fraud and Fear,
       and a court of conscience was the Nurse,- Attorney General v. Sattds\ Hard. 491."
       "With respect to the feoffee to uses, it was held to be absolutely indispensable that there
       should be cotiftdetice in the person, and privity of estate. For want of the requisite of
       personal confidence it was ruled that a corporation could not stand seised to a use ; for
       how, it was said, could a corporation be capable of confidence when it had not a
       soul? Nor was it competent for the king to sustain the character of trustee; for it was
       thought inconsistent with his high prerogative that he should be made responsible to
       his own subject for the due administration of the estate. And originally the subpoena
       lay against the trustee himself only, and could not have been sued against either his heir
       or assign; for the confidence was declared to be personal, and not to accompany the
        devolution ofthe property."[emphasis mine]

        To demonstrate this point in this case, 1 think ofthe Office ofthe United States Trustee

and the Office of Bankruptcy Trustees that both corporations or trusts, which employ alive

people capable ofcotrfidetice with physical bodies, brains and souls.

        If there is office of trustee - there has to be a registered, named trust- 2 different,
        distinguished from each other concepts and entities

        The name of alleged creditor in this case is "U.S. Bank National Association, as Trustee

for Banc of America Funding Corporation Mortgage Pass-Through Certificates, series 2006-F."

Accordingly, I ?lvs\ forced to itifer that alleged creditor"US Bank, NA as trustee" with no soul or

brain is a corporate employer ofthe natural, alive individual who is trustee. The Banc of America

Funding Corporation Mortgage Pass-Through Certificates, series 2006-F is an implied, gibberish

name of REMIC trust, a custodian or warehouse with no soul or brain. Presumably, Banc of

America Funding Corporation is an employer of the other natural individual who is a warehouse

trustee, a clerk. However, these individuals both are missing in actions since, at least, from 2006.

You know those who do book keeping for the trust (estate). Those that now work from home due

to COVID-19,they picks up the phone, make income tax to be paid to IRS, open mail and those
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that control the estate and one ofthem writes a check to US Bank, NA("USB')as trustee for the

work, the other deposits it into a bank account. Those individuals presumably with authority

hired and appointed USB who in turn hired attorneys to do this foreclosure. Those individuals

who presumably are capable and vested with confidence from 2006 - presumed date of

securitization and creation of alleged trust sit at different locations.

        Since 2009,1 was trying to find one live individual from the USB or REMIC trust to

discuss this foreclosure situation and verify that USB is the right party to talk with, or to serve

with persona!subpoena in my case. However, 1 was always blocked by foreclosure attorneys

zealously guarding individuals' name, position, authority, business phone number or business

address. That information would verify that such individual exists, and therefore trust (estate)

also exists. Iff suppose that U.S. Bank was the trustee than what was the "registered" name of

the trust, where was it registered and what its employer ID number from IRS? Finally, after

several years of investigation and especially surveillance^ I concluded that this individual who

works for the trust is a ghost. But, can a ghost pick up a phone and talk to me? Can a ghost deal

with IRS on behalf of the trust, be subpoenaed and deposed in discovery? Exactly! Good

questions!

        The whole foundation ofthis POC based on the fraudulent transaction made by servicer

and hired foreclosure mill in 2009 for an alleged creditor or maybe even another fraudulent

transaction made in 2005. From 2009 foreclosure lawsuit against me until today, this is what

essentially was/is the real agenda of alleged creditor(s) or USB(s), and its alleged numerous

attorneys-interlopers and law firms demonstrated by this brief hypothetical dialog below. This

dialog in essence went always like this;

        USB and its attorneys from 2009 until 2020: we are mad at you (Krichevsky)
        and want to foreclose.
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       I (Krichevsky): I have never dealt with you. Please, explain who you are and why
       you are mad at me. Let us sit down and work it out.
       USB and its attorneys: we refuse to explain who we are, why we are mad at you
       or work out anything with you. We just want to be mad at you and foreclose."

       That goes against doctrines of Good Faith, Unclean Hands, Fraud and Deceit in my

affirmative defenses and counterclaims playbook.

Reply to motion for relief from stay: the creditor together with its attorney in a loan
transaction should not be allowed to collect a double or more than the amount of the debt

7.     I generally deny all paragraphs in Brittany J. Maxon, Esq. affirmation including

authenticity of my signature on her exhibits including authenticity ofstamps on exhibits and

exhibits themselves, and therefore demand proof by admissible evidence.

8.     Chapter 13 petition was filed on June 6, 2019 and later on converted by the court to

Chapter 11 petition.

9.     I listed US bank as creditor with disputed, contingent and unliquidated debt.

10.    All attorneys involved from WOODS OVIATT OILMAN, LLP("WOODS")were/are

New York's licensed, competent attorneys who know bankruptcy law, foreclosure law and New

York Judiciary law §487.

11.    US Trustee timely conducted two 341 meetings and Aleksandra K. Fugate, Esq. or

Brittany J. Maxon, Esq. failed to interview or depose me as to why I have those debts disputed,

contingent and unliquidated. They failed for a reason. Stated differently, they deliberately failed.

They know about their fraud upon the court, but they want to use contrived ignorance of such

fraud in case they are sued. 1 explain what contrived ignorance is below.

12.    Accordingly, Aleksandra K. Fugate, Esq. and Brittany J. Maxon, Esq. have firsthand

knowledge about judicial corruption on my case in state court and the reason why 1 filed Chapter

11 petition - yet they filed POC and this motion knowing that adversary proceeding is coming to
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resolve these issues on the merit. That violated bankruptcy rule 9011.

13.    They know that, currently, I am locating and collecting my evidentiary documents going

back more than 10 years and working on amendment of all necessary schedules for Chapter 11.

14.    My work slowed down by my equipment malfunction and inability to fix it due to

COVID-19 "shelter in place" orders by Meyer and Governor. Therefore, 1 treat this motion for

relieffrom stay as knowing and deliberate violation of Bankruptcy Rule 9011 because 1 am

forced by Brittany J. Maxon, Esq. to stop doing necessary tasks as DIP and deal with this

frivolous motion.

15.    Brittany J. Maxon, Esq.("Maxon") knows of FRCP (e) MOTION FOR A MORE

DEFINITE STATEMENT. It states that a party may move for a more definite statement of a

pleading to which a responsive pleading is allowed but which is so vague or ambiguous that the

party cannot reasonably prepare a response.

16.    Maxon knows that if the court orders a more definite statement and the order is not

obeyed within 14 days after notice of the order or within the time the court sets, the court may

strike the pleading or issue any other appropriate order.

17.    In deliberate disregard to this pleading rule Maxon by slay of hand wrote in her

affirmation;


       "3. Debtor executed a promissory note secured by a mortgage or deed of trust.
       The promissory note is either made payable to Creditor or has been duly
       indorsed. Creditor, directly or through an agent, has possession ofthe promissory
       note. Creditor is the original mortgagee or beneficiary or the assignee ofthe
       mortgage or deed oftrust."

       "13. Waiver ofthe stay invoked pursuant to Federal Rule of Bankruptcy
       Procedure 4001(a)(3) is sought so the Secured Creditor, its successors and/or
       assigns can immediately proceed with the foreclosure and/or eviction actions
       without further delay or economic harm."[Emphasis mine]
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18.    These paragraphs constitute "shotgun" multiple choice, template statements, to which I

am unable to reply with particularity nor the court is able to follow. In addition, these paragraphs

admit that Maxon does not know what the hell she is writing about - in contradiction to her full

familiarity offacts stated in   1 in the beginning of her affirmation.

Should Brittany J. Maxon, Esq. be allowed to testify as a witness in the case where .she is also a
prosecuting attorney? Exactly, good question! Answer:.she .should not!

19.    The motion for relieffrom stay is not supported by any attached declaration or affidavit

by employee of US Bank or Wells Fargo Bank; or by trustee or employee from the trust.

20.     Accordingly, we have here conflict of interest, by which Brittany J. Maxon, Esq. is

disqualified by operation of law to file this motion.

Should Brittany J. Maxon, Esq. he allowed to testify in this court as a witness based upon
hearsay upon hear.say information? Exactly, good question! Answer:.she should not!

21.    It is irrefutable fact that Brittany J. Maxon, Esq. did not witness anything she wrote about
                                        I



in her affirmation in support of her motion from 2005.

22.     Upon information and belief, in 2009 she was not even foreclosure attorney.

23.     Upon information and belief, all exhibits and attachments to her motion she saw on the

computer screen in Rochester, New York or maybe not even saw them at all, given the fact that

affirmation is electronically signed.

24.     Accordingly, she has no idea about authenticity and/or where those images came from,

given the fact that her motion was assembled and printed out in California by Wells Fargo bank's

employee, and mailed from there to me.

25.     Accordingly, her affirmation stating that she is familiar with this matter is based on

hearsay upon hearsay information, and is therefore false and misleading the court.

26.    Her affirmation essentially carries the narrative that I owe the money to the party whose
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money ended up in my pocket, but she would not give the name and address of that party in her
affirmation. However, for 11 years 1 have been asking the same question - what is the name and

address ofthe party who 1 must to pay? And, for 11 years I was getting the same answer, which

essentially went like this, "It is none of your business. Just pay us. Wells Fargo bank." When 1
                                                                                       !




asked why to pay Wells Fargo Bank and not anybody else, the answer went essentially like this,

"Because."


27.      I, on the other hand, in possession of several different copies of notes and mortgages

fabricated by Wells Fargo bank, which I would attach to this affidavit when my equipment is

fixed.


28.      Accordingly, by operation oflaw, this court should not pay attention to her affirmation,

but it gets even more interesting from my averments below where 1 explain why she refused to

sign her affirmation under penalty of perjury when I asked her to.

           COUNTER-FACTS AND MATERIAL TIMELINE OF CONTROVERSY. WHICH
          ATTORNEY MAXON DID NOT LIST IN HER MOTION TO RELIEF FROM STAY

29.      Below, 1 list historical, sequential facts as material, relevant to objection to proof ofclaim

("POC")and to motion for relieffrom stay as brief as I can be.

30.      These facts strike in the core ofcreditor's identity, credibility of attorney's Affirmations,
                                                                         1




Affidavits and Validity of Evidence of purported US Bank, as trustee("USB")and of its alleged

Servicer Wells Fargo Bank, NA, which I would call "WF." These facts show what WF knew and

when they knew that debt paid off.

  If a party seeking relief lacks standing, the trial court does not have jurisdiction to grant
                                       the requested relief

31.      I aver that current, alleged "creditor" has no standing in this case due to numerous

reasons, which I will show in detail below, but the main one is - IT DOES NOT EXIST by law
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or by fact in this court. Accordingly, what attorneys are doing is stealing my property by false

pretences.

32.    I will show that all ALLEGATIONS about note, mortgage, securitization, assignment,

trustee and trust turned out to be charade, scam from 2005 or 2009, through which I was harmed

and suffered greatly.

                   If alleged debt Paid Off- there is no claim and claimant

33.    Upon information and belief, the alleged debt paid off. On April 24, 2020,1 visited

mortgage electronic registration system(MERS)website and run search on my property address,

which produced MIN number of my mortgage. Attached as Exhibit A, is the copy of printout of

the MERS Inc. search ofthe MIN number, which revealed the following;

       "MIN: 1002948-0001201848-3           Note Date: 12/14/2005 MIN        Status: Inactive"

34.    I clicked the link provided on the screen and arrived at Wells Fargo bank's website.

There, I engaged in the chat service was bank's employee. Below, is a copy ofthe screen shot of

the chat("You" is Michael Krichevsky):

                                 "Wells Fargo: For your
                                 security, please don't
                                 enter sensitive
                                 information.
                                 Conversations are
                                  monitored and retained.


                                 Welcome to Wells Fargo
                                 Home Mortgage. Can we
                                 answer your questions
                                 about mortgage
                                 financing?
                                 You: 11:11:11am What
                                 does MIN Inactive
                                  means?
                                 Sergio V.: 11:12:13am
                                 Hello, and welcome to



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                                Wells Fargo. I am Sergio
                                v., NMLSR ID 1640308.
                                Thank you for your
                                inquiry. To best assist
                               . you, may I please have
                                 your name?
                                You: 11:12:44am
                                 Michael
                                Sergio V.: 11:13:34am
                                Hi, Michael. Where are
                                you seeing MIN
                                Inactive?
                                You: 11:14:32am In
                                 MERS inc website. MIN is
                                 a registration number of
                                 mortgage
                                 Sergio v.: 11:15:49am
                                 When it's showing
                                 inactive, typically it
                                 means that is been paid
                                 off." ■



35.    Fact, according to attorney filing."U.S. Bank, NA as trustee" claims to be the creditor.

36.    However, logically thinking, entity that is REMIC trust(Banc of America Funding

Corporation) that theoretically owns my note is the lawful definition of creditor and USB is an

agent, not the creditor.

37.    Fact, Banc of America Funding Corporation is a necessary party in interest.

38.    Fact, Banc of America Funding Corporation is not joined in POC as creditor and

claimant.


39.    Upon information and belief. Banc of America Funding Corporation did not appoint U.S.

Bank, NA to be its trustee or an agent in this POC, and 1 am confident that no evidence to the

contrary existed.




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40.    Upon information and belief, Banc of America Funding Corporation did not give power

of attorney to alleged creditor's attorneys WOODS OVIATT OILMAN, LLP("WOODS")to

file FOG, and 1 am confident that no evidence to the contrary existed.

41.    Fact, according to alleged creditor, my first date of default is March , 2009. As oftoday,

this happened, according to creditor more than 11 years ago.

42.    I move the court to take Judicial Notice ofthese facts.

43.    I move the court to take judicial notice that New York has 6 years statute of limitation on

action to collect a debt, which is my affirmative defense to POC.

44.    In current claim USB's name is exactly "U.S. Bank National Association, as Trustee for

Banc of America Funding Corporation Mortgage Pass-Through Certificates, series 2006-F". This

is grammatically and logically gibberish. But, for now I would call this gibberish "USB 19" to

reflect the year 2019 when claim was filed. Using logical thinking, 1 applied the following legal

maxims to this issue of gibberish name:

       "The burden ofthe proof rests upon the person who affirms, not the one who
        denies."
       "If you know not the names of things, the knowledge ofthings themselves
       perishes; and if you lose the names, the distinction of the things is certainly lost."
       "Names ofthings ought to be understood according to common usage, not
       according to the opinions of individuals."
       "A name is not sufficient if a thing or subject for it does not exist by law or by
       fact."


 Below is an evidence of pattern and practice of abuse of process, malicious prosecution,
criminal fraud, deceit and violation of my due process rights using Contrived Ignorance of
                    the crimes committed by involved foreclosure mills

45.     Replying attorneys Aleksandra K.Fugate and Brittany J. Maxon: please take notice

that this affidavit must be rebutted sequentially point for point as if this affidavit is the

"complaint" and your reply is an "answer" in state court or negative inferences will be made

against your POC and you personally.




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46.     All attorneys involved including from WOODS OVIATT OILMAN, LLP("WOODS")

were/are New York's licensed, competent attorneys who know bankruptcy law, foreclosure law

and Judiciary law §487.

47.     All attorneys involved knew/know how to write a foreclosure complaint.

48.    Per attorneys Aleksandra K. Fugate and Brittany J. Maxon, WOODS currently has

delegated authority to file Proof of Claim from WF who have delegated authority from US Bank,

NA who was appointed as trustee by Banc of America Funding Corporation Mortgage Pass-

Through Certificates, series 2006-F, a REMIC trust. I will call this gibberish named trust

"CERTIFICATES" because WOODS implies that beneficiaries of this trust are securitized

certificates that presumably hold my note and mortgage and who voted to authorize this

foreclosure. But, can pieces of paper without brain and soul hold another paper, be beneficiary

and vote? Exactly! Good question. I know the answer. I will address it in the historical,

sequential factual statements below. However, in summary, I contend that WOODS attempted to

create an illusion that there is a real party in interest when in reality no lawful claim or claimant

exists in this court. Moreover, I contend that alleged creditor, presumed certificate holders or

investors will never get the proceeds offoreclosure sale because WOODS would do everything

including possible money laundering "of the books and under the table".

A name is not sufficient if a thing or subject for it does not exist by law or by fact

49.    I prove this point by the following procedure in this court. I signed my Chapter 11

petition under penalty of perjury. During 341 meetings ofcreditors, US Trustee, Nazar

Khodorovsky, requested that I show him my physical (not a copy)ID and proof of legitimacy of

my social security number by documentary evidence(not a copy)from Social Security
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Administration itself, which 1 did. However, WOODS think that their attorneys above the law

and do not have to prove to US Trustee identity of creditor because ofthe following:

50.     WOODS' competent, licensed attorney, Aleksandra K. Fugate, under penalty of perjury

examined the information, presumably personally prepared POC and signed it under penalty of

perjury. No other proof of creditor's identity and identities of its employees was submitted with

POC.


  Future proves past- no attorney firm or a alleged servicer involved in foreclosure since
    2009 had authority to do it including creation and signing assignments of mortgage

51.     Attorney Fugate presumably examined attached to POC limited power of attorney

("POA"), Exhibit B.

52.     Attorney Fugate, therefore, knew that at the time of filing POC attached copy ofPOA is

incomplete, misleading the court and void as evidence of authority to appear in this court

because at the beginning of copy ofPOA says,"The trusts identified on Schedule A (the

"Trusts")..." However, no Schedule A attached to this copy ofPOA. Accordingly, attorney

Fugate knowingly failed to prove identity ofcreditor and her authority to appear in this court;

knowingly misled iht court and filed POC without proof(fauthority. As such, POC is

unauthorized filing and unauthorized practice of law. I have dealt with unauthorized filings by

attorneys involved since 2009 and will show detailed evidence below.

53.     On the top of everything, POA was acknowledged and notarized in Massachusetts. I

understand that "we are not in Kansas anymore," but at least we have to be in Ohio or in

Minnesota where corporate headquarters of USB 19 located.

54.     In March of2020, on numerous occasions I contacted Aleksandra K. Fugate, Esq.,

Brittany J. Maxon, Esq. and others from WOODS by email and politely asked whether Fugate

inadvertently failed to attach a copy of Exhibit A to POA. As of today, I received no answer.




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55.    Accordingly, 1 demand an explanation and proof whether the people that signed POA

reside in Massachusetts, whether notary is employee of USB 19 and who from Minnesota or Ohio

headquarters authorized them to appoint WF in Massachusetts to conduct foreclosure in New

York. This whole thing is fishy and a Shell Game by slay of hand.

56.    Now,the court should notice, that             judicially admits that in order for them to file

any claim against my property in court, the firm needs the power of attorney from lawful owner

and holder of original note and mortgage. According to WOODS they obtained POA only in

2018, see Exhibit A. Accordingly, Alleged creditor did not authorize WOODS to do the state

foreclosure action in 2016 and I am confident that no evidence to the contrary existed because

WOODS refused to produce POA at that time to me.

57.    1 predict that now there will be "change of characters" on this charade POC and new

attorney with contrived ignorance of the crimes committed would come up with "dog ate my

homework" excuse or explanation. Alternatively, WOODS brazenly will go silent. Regardless,

they htowinglyfailed to prove their authority to file POC. I will prove knowledge in historical

factual sequence below.

58.    I will show the court that no matter how involved foreclosure mills named alleged

creditor at different times by different names these attorneys knew that the real, lawful claimant

or creditor did not exist. 1 will prove knowledge ofthis nonexistence by Contrived Ignorance of

crimes committed, contempt of court and deliberate violation of my due process rights.

59.    In this affidavit I use information and argument from legal essay "Contrived Ignorance"

by David Luban, Georgetown University Law Center,(This paper can be downloaded free of

charge from; https://scholarship.law.georgetown.edu/facpub/1751). This essay is 25 pages long,

but to demonstrate concept of Contrived Ignorance I would quote the following:




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"For example, Speer recalls that in 1944 a friend of his warned him "never to
accept an invitation to inspect a concentration camp in Upper Silesia. Never under
any circumstances." Speer described his thought processes as follows;

"I did not query him, I did not query Himrnler, 1 did not query Hitler, 1 did not
speak with personal friends. I did not investigate -for I did not want to know
what was happening there.... From that moment on, I was inescapably
contaminated morally; from fear of discovering something which might have
made me turn from my course, I had closed my eyes.. ."

 IV. THE STRUCTURE OF CONTRIVED IGNORANCE


"At this point, I want to look more carefully at the structure of contrived
ignorance. The crucial point is that it involves not one set of actions, but two. The
first consists ofthe actions or omissions by which an actor shields herself from
unwanted knowledge. For convenience, let me call them the screening actions.
When the lawyer interviewing her client breaks off a dangerous line of
questioning, when the drug courier refrains from looking in the suitcase, when the
executive rewards subordinates who maintain his deniability, they have performed
screening actions. The second set of actions consists of whatever misdeeds the
actor subsequently commits that would be innocent if, but only if, she was
legitimately ignorant. Call these the unwitting misdeeds. Once we draw this
distinction, several interesting points emerge. The first is that screening actions,
like unwitting misdeeds, can be performed with various degrees of mensrea.'' If
we use words carefully, the word "willful" modifying" ignorance" should describe
the mens t ea with which an actor contrives her own ignorance. This leaves open
the possibility that ignorance can be contrived at other levels of culpability. A
political leader or corporate executive who intentionally sets up an organizational
structure designed to maintain his deniability is willfully ignorant. His partner,
who didn't set up the structure but is perfectly happy to benefit from it, may not be
willfully ignorant, but is nonetheless ktiowhigly ignorant. Their successor, who
decides to run the risk of keeping the structure in place, may well be recklessly
ignorant. And Reckless's dimwitted partner Feckless, who never even wonders
why their predecessors are taking unpaid leave at Club Fed, is negligently
ignorant."

 LAWYERS BEHAVING BADLY: A REPRISE


"When disputes lead to litigation, all parties may have done something
discreditable or embarrassing; and when clients enter into business transactions,
all sides may be concealing weaknesses or defects in their wares. None ofthem
will appreciate a doctrine that they fear will require their own lawyers to search
out their dishonesties and then resign or report them."[emphasis is mine]"




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             It is illegal to enforce contract law by violations of the criminal laws

60.    So, Contrived Ignorance has to do with violation of criminal law and plausible deniability

as defense, in this case, by attorneys involved.

61.     All attorneys involved including from WOODS,knew or had reason to know maxims of

law about the name I quoted above, because I quoted these maxims to them in my paperwork and

entered into the state's court record.

62.     All attorneys involved including from WOODS,knew that they have to keep Condor to

the court.


63.     WOODS and others biowingly and deliberately compartmentalized foreclosure process

to aid in attorney's contrived ignorance ofthe crimes committed by making them unlawfully act

like robots on assembly conveyer. This is why they called foreclosure mills.

64.    Let's start with maxim "A name is not sufficient if a thing or subject for it does not

exist by law or by fact."

                       If there is no entity called trust - there is no trustee

65.     The first thing an attorney is doing when signing up a new client is taking a copy of

driver's license or passport. In 2009 I asked verbally and on the paper USB's attorneys to

produce from their office any copy of trust document showing the address and place of

registration of USB.

 Refusal to comply with CPLR §322(a)to disclose identity of plaintiff is contempt of court,
 violation of due process and circumstantial evidence of lack of POA and therefore lack of
                     authority from Plaintiff to start foreclosure action

66.     Since 2009, they all ignored my paperwork by becoming silent, which is evidence of

contrived ignorance of the crimes committed because they purposely failed to acknowledge on

the record that I asked to identify their client and raised the issue. If they addressed or




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acknowledged this issue on the record in any way - even by refusing to produce, they would

have lost contrived Ignorance ofthe crimes committed on the record. They would have admitted

to guilty knowledge (no plausible deniability) of their client's nonexistence.

67.    I will address their know/edge offake name in detail below. But, for now to avoid

redundancy and repetition I will continue to call this current gibberish, alleged creditor by the

name "USB 19" or "creditor" to reflect the year 2019 ofthe latest, fourth foreclosure round in

this court. The first round started in state court in 2009. But, why alleged creditor and its

attorneys could not foreclose in the first round or in the second at least? Exactly! Good question!

1 will keep writing to show the answer why.

68.    However, in 2009 foreclosure case there was differently named USB, which 1 would call

it "USB9" to avoid confusion and reflect the year of 2009 and so on. What 1 know now, 1 did not

know then and it took me almost 10 years of"diving into different rabbit holes" created by

attorneys to figure it all out. At all relevant times below, 1 essentially wrote to each named USBs,

their attorneys and judges the following:

69.    [TO BE CONTINUED AND SUPPLEMENTED OR AMENDED]

CONCLUSION


70.     The proof ofclaim is scandalous matter because WOODS shamelessly filed it without

valid POA and when 1 pointed out to them, they refused to acknowledge defect and fix it.

71.     Maxon's attorney affirmation is another scandal because she violates law governing

lawyers and admits on the record that she has no idea what she is writing about.

72.     Wells Fargo employee in chat with me admitted that alleged debt paid off

73.     Accordingly, this POC together with frivolous motion to lift stay is beyond scandalous -

this is crimes against humanity on large scale. This is fraud upon the court by officers of the




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court.


WHEREFORE, I move this Honorable Court for an order granting my cross-motion to strike

POC with prejudice and to strike Affirmation of Attorney Maxon, and that further relief be as to

this Court seems just and equitable.

Dated: Brooklyn, New York
       May 14, 2020
                               /s/ Michael Krichevskv
                               Michael Krichevsky, DIP
                               4221 Atlantic Ave
                               Brooklyn, New York 11224
                               (718)687-2300




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